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UNITED sTATEs DlsTRicT COURT " ~ F‘*EC"Y“'E"
I)ISTRICT oF MARYLANI) JAN 2 9 mg
SOUTHERN DIVISION
ay D.SF~BFMTF:MD
DEPu_
Madie Green,
z §~"‘.§§`: iii iii 1 § ?
Plaint;iff, : CivilAction No.:
V. `
Bronson & Miggliaccio, LLP,
Dei`endant.
COMPLAINT

For this Complaint, the Plaintiff, Madie Green, by undersigned counsel, states as

follows:

.IURISDICTION

1. This action arises out of Defendant’s repeated violations of the Fair Debt
Collections Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintifi`s personal
privacy by the Defendant and its agents in their illegal efforts to collect a consumer debt.

2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that Defendant
transacts business here and a substantial portion of the acts giving rise to this action occurred
here.

PARTIES

3. Plaintiii`, Madie Green (hereaiter “Plaintifi”), is an adult individual residing at

6505 Foster Street, District Heights, Maryland 20?4?, and is a “consurner” as the tenn is defined

by 15 U.S.C.§ 1692a(3).

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4. Defendant Bronson & Migliaccio, LLP (hereafter “Defendant”), is a limited
liability partnership with an address of415 Lawrence Bell Drive, Williamsville, New York
14221, operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.s.C.§ 16923(6).

5. The names of the individual collectors are unknown but they will be added by

amendment when determined through discovery.
FACTUAL ALLEGATIONS

6. Plaintiff incurred a financial obligation that was primarily for family, personal or

household purposes, and which meets the definition of a “debt” under 15 U.S.C. § 1692a(5).

7. Thereafter, the debt was purchased, assigned or transferred to Defendant for

collection from Plaintiff.

8. The Defendant then began attempts to collect this debt from the Plaintiff, which

was a “comrnunication” as defined in 15 U.S.C. § 1692a(2).

9. The Defendant made telephone calls repeatedly, causing the phone to ring in

Plaintiff’s home on numerous occasions, in violation of 15 U.S.C. § 1692d(5).

10. The Defendant failed to state the name of the collection agency and failed to

inform Plaintiff the communication was from a law frrm, in violation of 15 U.S.C. § 1692e(14).

11. The Defendant unlawfully threatened to take the Plaintifi’s personal belongings

with threats of immediate repossession, in violation of 15 U.S.C. § 1692f(6).

12. The Defendant made threats to repossess the Plaintiff’s property without ever

intending to take such action, in violation of 15 U.S.C. § 1692e(5).

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13. The Plaintiff has suffered actual damages as a result of these illegal collection
communications in the form of humiliation, anger, anxiety, emotional distress, fear, frustration,
embarrassment, amongst other negative emotions, as well as suffering from unjustified and

abusive invasions of personal privacy at the Plaintiff’s home.

COUNT I

VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
15 U.S.C. § 1692, et seq.
14. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

15. The Defendant intended to harass the Plaintiff by repeatedly causing a telephone

to ring and engaging thc Plaintiff in conversation, in violation of 15 U.S.C. § 1692d(5).

16. The Defendant did not use the true name of the collection agency when
communicating with the Plaintiff, failing to state that the communication was from a law firm, in

violation of 15 U.s.C. § 1692@(14).

17. The Defendant unlawfully threatened to seize Plaintiff`s personal belongings, in

violation of 15 U.S.C. § 1692f(6).

18. The Defendant threatened action which it never intended to take, in violation of

15 U.s.C. § 1692@(5).

19. The foregoing acts and omissions of the Defendant constitute numerous and

multiple violations of the FDCPA, including every one of the above*cited provisions

20. The Plaintiff is entitled to damages as a result of Defendant’s violationsl

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COUNT Il

VIOLATIONS OF THE MARYLAND CONSUMER DEB'I` COLLECTION ACT
MD. CODE COMM. LAW § 14-201, et seq.

21. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

22, The Defendant is a “collector” as defined under MD. Code Comm. Law § 14-

201(b).

23. The debt is a “consumer transaction” as defined under MD. Code Comm. Law §

14-201(0).

24. The Defendant repeatedly contacted the Plaintiff with the intent to harass or

abuse, in violation of MD. Code Comm. Law § 14-202(6).

25. The Plaintiff suffered emotional distress and mental anguish as a result of the

Defendant’s repeated contact.

26. The Plaintiff is entitled to damages proximately caused by the Defendant’s

violations.

LJM
INvASION oF PRIVACY BY INTRUSION UPoN sECLUsloN

27. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

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28. The Restarement quorrs, Second, § 652(b) defines intrusion upon seclusion as,
“One who intentionally intrudes . .upon the solitude or seclusion of another, or his private affairs
or concems, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

29. Maryland further recognizes the Plaintiff`s right to be free from invasions of

privaey, thus Defendant violated Maryland state law.

30. Defendant intentionally intruded upon Plaintiff s right to privacy by continually
harassing Plaintiff with phone calls to her horne and by threatening to come to her home to seize

her personal belongings

31. The telephone calls made by Defendant to Plaintiff were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial
burden to her existence,” thus satisfying the Resraremem‘ of Torts, Second, § 652(b) requirement

for an invasion of privacy.

32. The conduct of the Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

33. As a result of the intrusions and invasions, Plaintiff is entitled to actual damages

in an amount to be determined at trial from Defendant

34. All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as sueh, Defendant is subject to punitive damages

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COUNT IV

VIOLATION OF LICENSING REQUIREMENTS FOR COLLECTION AGENCIES
MD. ANN. CODE BUS. REG. § 7-101 et seq.
35. Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

36. The Defendant is a “collection agency” as defined by MD.Ann.Code. Bus. Reg. §

i-ioi(c).

3?. As a collection agency doing business within the state of Maryland, the Defendant
is required to obtain a license under MD.Ann.Code. Bus. Reg. § ?-301(a) and to execute a surety

bond under MD.Ann.Code. Bus. Reg. § 7-304(a).

38. The Defendant is not in good standing and its license status is marked “forfeited”
for “failure to file property return for 2008,” as indicated by the Maryland Department of

Assessments and 'Faxation.

39. Under MD.Ann.Code. Bus. Reg. § 1401 (a), a person may not willfully or

knowingly do business as a collection agency unless properly licensed

40. The Defendant is subject to the penalties imposed under MD.Ann.Code. Bus.
Reg. § 7-401(b) for failure to obtain a license while doing business as collection agency in the

state of Maryland and the Plaintiff is, therefore, entitled to damages

PRAYER FOR RELIEF
WHEREFORE, Plaintiff prays that judgment be entered against Defendant:
l. Actual damages pursuant to 15 U.S.C. § l692k(a)(l) against Defendant;
2. Statutory damages of 51,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

against Defendant;

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3. Costs of litigation and reasonable attomey’s fees pursuant to 15 U.S.C. §

1692k(a)(3) against Defendant;

4. Actual damages pursuant to MD. Code Comm. Law § 14-203;

5 . Actual damages pursuant to MD.Ann.Code. Bus. Reg. § 7-401(b);

6. Actual damages from Defendant for the all damages including emotional

distress suffered as a result of the intentional, reckless, and/or negligent

FDCPA violations and intentional, reckless, andfor negligent invasions of

privacy in an amount to be determined at trial for Plaintiff;

7. Punitive damage; and

8. Such other and further relief as may be just and proper.

TRIAL BY JURY DEMANI)ED ON ALL COUNTS

Dated: January 21 , 2009

Respectfully submitted,
By fsi Andrea Colender

Andrea Colender MD Bar No. 10217
1648 Trawler Lane

Annapolis, MD 21409

Telephone: (203) 653-2250
Facsimile: (87'!`) 795-3666

Email: acolender@lemberglaw.com
MD Bar No. 10217

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LEMBERG a ASSOCIATES L.L.C.
1100 summer street 3“‘ nom
Stamford, CT 06905

Telephone: (203) 653-2250
Facsimiie: (s??) 795-3666

